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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

YUSUF KALYANGO, Ph.D.,                            :
                                                  :
               Plaintiff,                         :   Case No. 2:22-cv-2028
                                                  :
       v.                                         :   Chief Judge Algenon L. Marbley
                                                  :
OHIO UNIVERSITY, et al.,                          :   Magistrate Judge Elizabeth P. Deavers
                                                  :
               Defendants.                        :

                                              ORDER

       This matter is before this Court on Plaintiff’s Motion to Allow Plaintiff to Attend

Settlement Conference by Telephone or Zoom. (ECF No. 48). Plaintiff Dr. Yusuf Kalyango now

resides in Texas. (Id.). Plaintiff has made all necessary arrangements to attend the trial set on July

29, 2024, but attending the settlement conference would create a hardship that would require him

to take additional days to fly to Ohio, attend the settlement conference, and return. (Id.). For good

cause shown, Plaintiff’s Motion is GRANTED and Plaintiff is permitted to attend the June 11,

2024 settlement conference via phone.

       IT IS SO ORDERED.

                                                                         ___
                                               ALGENON L. MARBLEY
                                               CHIEF UNITED STATES DISTRICT JUDGE
DATED: June 10, 2024
